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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


 TONYA E. BOSTIC,

      Plaintiff,

 v.                                                       Case No. 3:21-cv-00398

 SERVICING SOLUTIONS, LLC,

      Defendant.

                                   CLASS ACTION COMPLAINT

        NOW COMES TONYA E. BOSTIC (“Plaintiff”), individually, and on behalf of all others

similarly situated, by and through her undersigned counsel, complaining of SERVICING

SOLUTIONS, LLC (“Defendant”), as follows:

                                     NATURE OF THE ACTION

        1.         Plaintiff brings this action seeking redress for Defendant’s violations of the Fair

Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq.

        2.         “Congress made it clear that the FCRA is designed to preserve the consumer’s

privacy in the information maintained by consumer reporting agencies.” Cole v. U.S. Capital, Inc.,

389 F.3d 719, 725 (7th Cir. 2004) citing 15 U.S.C. § 1681(a)(4).

                                    JURISDICTION AND VENUE

        3.         This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

        4.         Venue in the Northern District of Texas is proper pursuant to 28 U.S.C. §1391(b)(1)

because Defendant resides in this judicial district.




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                                                 PARTIES

        5.      Plaintiff is a natural person whom at all times relevant resided in Charlotte, North

Carolina.

        6.      Defendant specializes in servicing debt portfolios and assisting third parties collect

consumer debt.

        7.      Defendant maintains its principal place of business at 3660 Regent Boulevard, Suite

200, Irving, TX 75063.

                                   FACTUAL ALLEGATIONS

        8.      In July 2016, Plaintiff obtained a vehicle loan from First Investors Financial

Services (“First Investors”).

        9.      In 2019, Plaintiff was unable to keep up with the payments on the loan and

voluntarily surrendered the vehicle to First Investors.

        10.     The vehicle was subsequently liquidated, leaving an alleged deficiency balance of

$5,239.52 (“subject debt”).

        11.     At some point in time, First Investors sold or assigned the subject debt to Autovest,

LLC (“Autovest”).

        12.     On August 5, 2020, Autovest began its collection efforts on the subject debt.

        13.     Shortly thereafter, Autovest placed the subject debt with the collection agency

Michael Andrews & Associates, LLC (“Michael Andrews”) for collection.

        14.     Upon information and belief, Michael Andrews engaged Defendant to help

facilitate the collection of the subject debt.




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          15.   On January 8, 2021, Plaintiff discovered that Defendant accessed her Experian

credit report through a “hard inquiry” under the false pretext that Plaintiff applied for a loan from

Defendant.

          16.   Specifically, Plaintiff’s Experian credit report stated that Defendant “made an

Installment Loan Inquiry by checking your credit file. When you apply for credit, a ‘hard inquiry’

may be placed on your Credit File and it stays on your report for 25 months.”

          17.   Moreover, Plaintiff’s Experian credit report listed Defendant’s address as “26261

Evergreen Rd Ste 350, Southfield, MI 48076-4447.”

          18.   The address listed as Defendant’s address on Plaintiff’s Experian credit report is

Michael Andrew’s address.

          19.   At no point in time did Plaintiff apply for a loan and/or credit from Defendant.

          20.   At no point in time did Plaintiff authorize Defendant to access her Experian credit

report.

          21.   Defendant accessed Plaintiff’s Experian credit report for the purposes of assisting

Michael Andrews collect the subject debt.

          22.   Upon information and belief, Defendant falsely represented to Experian that

Plaintiff applied for a loan from Defendant and that it had a permissible purpose under the FCRA

to access Plaintiff’s credit report.

          23.   By accessing Plaintiff’s Experian credit report, Defendant obtained highly

confidential information concerning Plaintiff under false pretenses.

          24.   Defendant obtained Plaintiff’s Experian credit report without Plaintiff’s knowledge

or authorization.



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                                             DAMAGES

        25.     Defendant’s intrusive conduct resulted in significant harm to Plaintiff.

        26.     Specifically, Defendant’s credit inquiry was a “hard inquiry,” which adversely

impacts a consumer’s credit score. 1

        27.     Accordingly, Plaintiff’s credit score was adversely impacted by Defendant’s “hard

inquiry.”

        28.     Defendant’s “hard inquiry” will remain on Plaintiff’s Experian credit report for 25

months.

        29.     As a result of Defendant’s conduct, Plaintiff suffered damages, including: invasion

of privacy; decreased credit score; mental anguish and emotional distress; and time wasted

monitoring her credit reports for unauthorized activity.

        30.     Concerned with the long-term impact of the hard inquiry, Plaintiff retained counsel

to enforce her privacy rights and compel Defendant to remove the damaging hard inquiry from her

Experian credit report.

                                     CLASS ALLEGATIONS

        31.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

        32.     Upon information and belief, Defendant systematically accesses consumers’ credit

reports through a damaging hard inquiry by falsely representing to the credit reporting agencies

that consumers have applied for a loan from Defendant.



1
 Hard inquiries adversely impact a consumer’s credit score. “Credit Checks: What are credit inquiries and
how they affect your FICO Score?” MyFICO, www.myfico.com/credit-education/credit-reports/credit-
checks-and-inquiries. (last accessed February 23, 2021)

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        33.     Defendant’s systemic practice of accessing consumers’ credit reports without a

permissible purpose prescribed by the FCRA constitutes a willful and malicious violation(s) of 15

U.S.C. § 1681b(f).

        34.     Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and 23(b)(3)

individually, and on behalf of all others similarly situated (“Putative Class”) defined as follows:

        All persons within the United States (1) whom have had their Experian consumer
        credit report(s) obtained by Defendant; (2) through a hard inquiry conducted by
        Defendant; (3) under the false pretext that he/she has applied for a loan and/or credit
        from Defendant; (4) within the five (5) years preceding the date of the original
        complaint through the date of class certification.

        35.     The following individuals are excluded from the Putative Class: (1) any Judge or

Magistrate Judge presiding over this action and members of their families; (2) Defendant,

Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which Defendant or

its parents have a controlling interest and their current or former employees, officers and directors;

(3) Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion

from the Putative Class; (5) the legal representatives, successors or assigns of any such excluded

persons; and (6) persons whose claims against Defendant have been fully and finally adjudicated

and/or released.

        A.      Numerosity

        36.     Upon information and belief, the members of the Putative Class are so numerous

that joinder of them is impracticable.

        37.     The exact number of the members of the Putative Class is unknown to Plaintiff at

this time and can only be determined through targeted discovery.

        38.     The members of the Putative Class are ascertainable because the class is defined by

reference to objective criteria.

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         39.   The members of the Putative Class are identifiable in that their names, addresses,

and telephone numbers could be identified in business records maintained by Defendant.

         B.    Commonality and Predominance

         40.   There are many questions of law and fact common to the claims of Plaintiff and the

Putative Class, and those questions predominate over any questions that may affect individual

members of the Putative Class.

         C.    Typicality

         41.   Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and

members of the Putative Class are entitled to damages as result of Defendant’s conduct.

         D.    Superiority and Manageability

         42.   This case is also appropriate for class certification as class proceedings are superior

to all other available methods for the efficient and fair adjudication of this controversy.

         43.   The damages suffered by the individual members of the Putative Class will likely

be relatively small, especially given the burden and expense required for individual prosecution.

         44.   By contrast, a class action provides the benefits of single adjudication, economies

of scale, and comprehensive supervision by a single court.

         45.   Economies of effort, expense, and time will be fostered and uniformity of decisions

ensured.

         E.    Adequate Representation

         46.   Plaintiff will adequately and fairly represent and protect the interests of the Putative

Class.

         47.   Plaintiff has no interests antagonistic to those of the Putative Class and Defendant

has no defenses unique to Plaintiff.

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        48.    Plaintiff has retained competent and experienced counsel in consumer class action

litigation.

                                    CLAIMS FOR RELIEF

                                           COUNT I:
                       Defendant’s Violations of 15 U.S.C. § 1681b(f)
                (on behalf of Plaintiff and the Members of the Putative Class)

        49.    All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

        50.    Plaintiff is a “consumer” as defined by 15 U.S.C. §§1681a(c) and (b).

        51.    Defendant is a “person” as defined by 15 U.S.C. §1681a(b).

        52.    Plaintiff’s Experian credit report that Defendant accessed without authorization is

a “consumer report” as defined by §1681a(d)(1).

        53.    The FCRA prohibits any person or entity from using or obtaining a consumer credit

report unless the person or entity has a permissible purpose enumerated in the FCRA. See 15

U.S.C. §1681b(f).

        54.    Defendant violated 15 U.S.C. §1681b(f) by obtaining Plaintiff’s Experian credit

report without Plaintiff’s authorization and without a permissible purpose enumerated in the

FCRA.

        55.    Defendant did not have a permissible purpose under the FCRA to access Plaintiff’s

Experian credit report because Plaintiff has no business/financial relationship with Defendant and

never authorized Defendant to access her credit report.

        56.    As set forth above, Plaintiff never applied for a loan from Defendant as Defendant

falsely represented to Experian.



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       57.     Defendant cunningly and impermissibly accessed Plaintiff’s Experian credit report

under the false pretext that Plaintiff applied for a loan from Defendant in an effort to assist Michael

Andrews collect the subject debt.

       58.     Plaintiff never authorized Defendant to access her Experian credit report through

an invasive and damaging hard inquiry.

       59.     Defendant’s deceptive conduct is prohibited by the FCRA.

       60.     Defendant willfully and maliciously violated §1681b(f) when it accessed Plaintiff’s

credit report without a permissible purpose under the FCRA.

       61.     In the alternative, Defendant negligently violated §1681b(f) by accessing Plaintiff’s

credit report without a permissible purpose under the FCRA.

       62.     As set forth above, Plaintiff was harmed by Defendant’s conduct.

       63.     Upon information and belief, Defendant knowingly and systematically obtains

consumer credit reports without a permissible purpose prescribed by the FCRA.

       64.     Upon information and belief, Defendant does not maintain policies and procedures

to protect consumers’ privacy interests and prevent the unlawful access of consumer credit reports.

       65.     Due to Defendant’s unlawful conduct, Plaintiff is entitled to actual damages,

statutory damages, and punitive damages.

       WHEREFORE, Plaintiff, TONYA E. BOSTIC, respectfully requests that this Honorable

Court enter judgment in her favor and against Defendant, as follows:

       A.      Granting certification of the proposed class, including the designation of Plaintiff
               as the named representative, and the appointment of the undersigned as Class
               Counsel.
       B.      Declaring that the practices complained of herein are unlawful and violate the Fair
               Credit Reporting Act.

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       C.     Enjoining Defendant from accessing consumer credit reports without a permissible
              purpose.
       D.     Awarding Plaintiff and the class members actual damages, in an amount to be
              determined at trial, for each of the underlying FCRA violations.
       E.     Awarding Plaintiff and the class members statutory damages of $1,000.00 for each
              violation of the FCRA pursuant to 15 U.S.C. §1681n.
       F.     Awarding Plaintiff and the class members punitive damages in an amount to be
              determined at trial for the underlying FCRA violations pursuant to 15 U.S.C.
              §1681n and 15 U.S.C. §1681o.
       G.     Awarding Plaintiff her reasonable attorney’s fees and costs pursuant to 15 U.S.C.
              §1681n and 15 U.S.C. §1681o.
       H.     Awarding any other relief this Honorable Court deems just and proper.

                                DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.


Date: February 24, 2021                                      Respectfully Submitted,

                                                             TONYA E. BOSTIC

                                                             By: /s/ Mohammed O. Badwan

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